Case 3:05-cv-00020-WWE Documents Filed 03/14/05 Page 1 of 2

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

JACK H. JACOBS
Plaintiff

V. : CIVIL ACTION NO.

3:05CV00020 (WWE)
O&J INVESTMENTS LLC, and

ANDREW T. OSINSKI
Defendants : MARCH 10, 2005

NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1)(i) of the Federal Rules of Civil Procedure, Plaintiff Jack
H. Jacobs hereby files notice of Plaintiff's intention to voluntarily dismiss his action
against Defendants O&J Investments, LLC and Andrew T. Osinski. Plaintiff certifies
that Defendants have not answered the Complaint nor has either party moved for

summary judgment.

PLAINTIFF

JACK H. JACOBS

BY HISATTORNEYS
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Marc L/ Zaken, Esq. (CT 03110)
Email: mzaken@EdwardsAngell.com
John G. Stretton, Esq. (CT 19902)
Email: jstretton@EdwardsAngell.com
EDWARDS & ANGELL, LLC

Three Stamford Plaza

301 Tresser Boulevard

Stamford, CT 06901

Tel. (203) 353-6819

Fax (203) 975-7180

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Case 3:05-cv-00020-WWE Documents Filed 03/14/05 Page 2 of 2

CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing Notice of Voluntary Dismissal was
mailed via first class mail, postage prepaid to counsel for the Defendants, addressed as
follows:

Scott M. Harrington

Richard E. Castiglioni

DISERIO MARTIN O’CONNOR
& CASTIGLIONI LLP #102036

One Atlantic Street

Stamford, CT 06901

yh
this | day of March, 2005.

John G. Stretton, Esq.

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